      Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 1 of 10




                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

 JOHN DOE #1, et al.                               )
                                                   )
               Plaintiffs,                         )
        vs.                                        )
                                                   ) CIVIL ACTION NO.
 LLOYD AUSTIN, III, in his official
                                                   ) 3:21-cv-01211-TKW-HTC
 capacity as Secretary of Defense, et al.
                                                   )
               Defendants.                         )



        PLAINTIFFS’ REPLY TO DEFENDANTS’ OPPOSITION TO
          PLAINTIFFS’ EX PARTE MOTION FOR PLAINTIFFS
                   TO PROCEED ANONYMOUSLY

                                  INTRODUCTION

      Pursuant to Local Rule 5.5, Plaintiffs submitted an ex parte motion for leave

to proceed anonymously in this matter. Plaintiffs cited their broader wishes to retain

their privacy, in light of the specific medical issues implicated in this matter, and

also cited the very real potential for retaliation, harassment, punishment, and overall

threat to their careers for filing this suit. See ECF No. 4 at 2.

      Defendants are opposed, arguing that Plaintiffs’ legitimate concerns – the

privacy of their medical history and the potential they will face retaliation, including

harassment, punishment, and threats to their careers – are insufficient to meet their

burden “that would justify their use of pseudonyms in this case.” ECF 30 at p. 5.
     Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 2 of 10




Defendants could not be more wrong, having misunderstood both the law on this

matter and the facts justifying Plaintiffs’ request. Plaintiffs should be allowed to

proceed anonymously for the reasons set forth below.

                                   ARGUMENT

A. Background

      Federal Rule of Civil Procedure 10(a) states that “every pleading” in federal

court “must name all the parties.” Fed. R. Civ. P. 10(a). There are exceptions to this

rule. A party may be allowed to proceed anonymously if they establish “a substantial

privacy right which outweighs the ‘customary and constitutionally-embedded

presumption of openness in judicial proceedings.’” Doe v. Frank, 951 F.2d 320, 323

(11th Cir. 1992) (quoting Doe v. Stegall, 653 F.2d 180, 186 (5th Cir. Unit A Aug.

10, 1981).

      This question of whether a substantial privacy right outweighs the

presumption of openness is a “totality-of-the-circumstances question.” In re

Chiquita Brands Int'l Inc., ___ F.3d ___, 2020 WL 4013070, at *5 n.5 (11th Cir.

July 16, 2020). Some factors to consider include whether:

             (1) plaintiffs seeking anonymity were suing to challenge
                 governmental activity;

             (2) prosecution of the suit compelled plaintiffs to disclose
                 information of the utmost intimacy; and

             (3) plaintiffs were compelled to admit their intention to engage in
                 illegal conduct, thereby risking criminal prosecution.
      Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 3 of 10




Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. Unit A Aug. 1981).

      Yet these are not the only factors. As the Eleventh Circuit has stated, a court

“should carefully review all the circumstances of a given case and then decide

whether the customary practice of disclosing the plaintiff's identity should yield to

the plaintiff's privacy concerns.” Plaintiff B. v Francis, 631 F.3d 1310, 1316 (11th

Cir. 2011) (citations omitted).

B. Defendants’ Near-Exclusive Reliance on the Stegall Factors is Mistaken.

      Defendants’ response focuses almost exclusively on the three factors cited in

Doe v. Stegall that are common to “John Doe” cases, walking through each of these

factors to argue why Plaintiffs do not deserve to proceed anonymously. Defendants

allege that Plaintiffs have not met their burden as applied to the “Eleventh Circuit’s

test.” ECF 30 at p. 5. They claim Plaintiffs’ request must be denied because “[n]one

of the factors that the Stegall court considered persuasive are present here.” Id. at

11.

      The problem with Plaintiffs’ assessment is that the “[t]he enumerated factors

in Stegall were not intended as a ‘rigid, three-step test for the propriety of party

anonymity.’” Doe v. Frank, 951 F.2d 320, 323 (5th Cir. 1992) citing Stegall, 653

F.2d at 185. In other words, Defendants are asking this Court to deny Plaintiffs’

requested anonymity using a formula rejected by other courts.
     Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 4 of 10




C. The totality of the circumstances weighs in favor of anonymity.

      Rather than adopting Defendants’ position and relying on the Stegall factors

exclusively, this Court is to review all the circumstances of this case – not just those

that fit into the Stegall factors. See Plaintiff B. v Francis, 631 F.3d 1310, 1316 (11th

Cir. 2011). After all, “[t]he ultimate test for permitting a plaintiff to proceed

anonymously is whether the plaintiff has a substantial privacy right which outweighs

the customary and constitutionally-embedded presumption of openness in judicial

proceedings.” Frank, 851 F.2d at 323.

      As the factors from Stegall might help inform whether anonymity is

warranted, the Eleventh Circuit has enumerated other factors for a court to consider,

including whether “the issues involved are matters of a sensitive and highly personal

nature” that the “practice of disclosing the parties’ identities ‘yields to a policy of

protecting privacy in a very private matter.’” Plaintiff B. v. Francis, 631 F.3d 1310,

1315-16 (11th Cir.) (quoting Wynne & Jaffe, 599 F.2d 707, 712-13).

      The issues in the present case, which include inquiry into Plaintiffs’ medical

history and decisions relating to their medical care, involve the “matters of a

sensitive and personal nature” contemplated by the Eleventh Circuit in Francis. The

review is similar to, but seemingly more broad, than the second Stegall factor that a

plaintiff must be disclosing “information of the utmost intimacy.” Doe v. Stegall,

653 F.2d 180, 185 (5th Cir. Unit A Aug. 1981).
     Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 5 of 10




      Plaintiffs still meet their burden under the second Stegall factor and under

Francis. There is no question that these medical decisions and medical histories are

so personal and so sensitive that the disclosure of Plaintiffs’ identities yields to the

overarching policy of “protecting privacy in a very private matter.” Francis, 631

F.3d 1315-16 (citations omitted). For example, Jane Doe #1 has a fertility disorder.1

ECF No. 1-18 at p. 2. Jane Doe #2 cites her prior COVID-19 infection. Id. at p. 5.

John Doe #3 has a history with cancer and still suffers side-effects from his

chemotherapy treatment. Id. at p. 10.

      These privacy concerns, while sufficient by themselves to support Plaintiffs’

anonymity in this matter, coincide with Plaintiffs’ real and credible fears of

“retaliation, adverse employment actions and disciplinary actions.” See ECF No. 1-

18. This includes punishment up to and including dishonorable discharge,

imprisonment, and the loss of their rights guaranteed under the constitution. See ECF

No. 1-18. Plaintiffs’ declarations explain these fears in detail. John Doe #7 states he

has been “informed that I will face administrative action, including non-promotion

status to separation from the Army” if he does not get the mandated vaccine. Id. at

19. John Doe #8 declares he is “facing a dishonorable discharge or separation as a

risk due to refusing the mandate of COVID-19 vaccination.” Id at 21. It isn’t just



1
 Defendants state they “do not object to Plaintiff Jane Doe #1 proceeding under a
pseudonym at this time.” ECF 30 at fn. 2.
     Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 6 of 10




their present positions that are at risk – it is their futures as well. As John Doe #14

states, “I also face the loss of retirement, veterans and other governmental benefits”

for not getting a COVID-19 vaccine. Id. at 35. Defendants have not stayed Plaintiffs’

potential punishment, making Plaintiffs’ concerns even more real – and the need for

anonymity more pressing.

      These factual allegations make clear the potential for harassment and

intimidation. These are two factors the Eleventh Circuit has considered in allowing

plaintiffs to proceed anonymously. See Hispanic Interest Coalition v. Governor of

Alabama, 691 F.3d 1236, 1247, fn. 8 (11th Cir. 2012) (discussing how “revealing

the illegal status of children could lead to criminal prosecution, harassment, and

intimidation” and how “this reality has led federal courts – including the district

court here – to permit the plaintiffs to proceed anonymously in immigration-related

cases”).

      Furthermore, multiple Plaintiffs cite their sincerely-held religious beliefs and

their requested religious exemptions. John Doe #1, for example, states the mandate

would require him to violate his belief that his body is “a temple of the Holy Spirit.”

Id. at p. 7. In totality, these facts outweigh the presumption of openness in judicial

proceedings.

      Yet there is more. Plaintiff’s challenge of government activity, in light of the

first Stegall factor, weighs in favor of anonymity. Defendants argue to the contrary
     Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 7 of 10




– and argue against the premise asserted in Stegall – stating that this factor has a

neutral effect. ECF No. 30 at p. 5. Of course, Plaintiffs are not relying exclusively

on this factor. Yet this first Stegall factor has more weight than Defendants admit.

While no Stegall factor is “meant to be dispositive,” the Eleventh Circuit has

observed as potentially “significant” the fact that a plaintiff was “suing the

government.” Frank, F.2d at 323.

      While Defendants raise the denial of anonymity in cases with unrelated factual

claims, Plaintiffs ask this Court to look to similar cases where anonymity of

servicemembers was allowed. As stated in Plaintiffs’ motion for leave, the United

States District Court for the District of Columbia granted plaintiffs’ request to file

anonymously where they were challenging a similar unlawful order mandating the

administration of an experimental vaccine. John Doe No. 1 v. Rumsfeld, 297 F. Supp.

2d 119 (D.D.C. 2003).

      Finally, this Court can grant Plaintiffs’ requested anonymity without

prejudicing Defendants. The protective order the partied have agreed to would

actually facilitate Plaintiffs’ request. Defendants voice concerns that knowing

Plaintiffs’ identities under the protective order, but while keeping Plaintiffs

anonymous, would “present unnecessary logistical difficulties of sealed and redacted

filings, and potentially closed hearings.” ECF No. 30 at p. 14. The Eleventh Circuit
     Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 8 of 10




disagrees. In cases involving discrete female healthcare choices, for example, it has

allowed a plaintiff to proceed anonymously under a similar protective order:

             The only justification the defendants offer for stripping Roe of
             her privacy is the argument that they will not be able to
             adequately conduct discovery without knowing her true identity.
             However, that argument is eviscerated by Roe's offer to disclose
             her name to the defendants for discovery purposes on condition
             that they do not disclose it to the general public. That is a
             reasonable way to reconcile the competing interests, and the
             district court can enter an appropriate protective order. The
             district court should have granted Roe's motion to proceed
             anonymously.

Roe v. Aware Woman Center for Choice, Inc., 253 F.3d 678, 687 (11th Cir. 2001).

      In consideration of the protective order pending in this case, Defendants’

objections on the grounds of inconvenience do not outweigh Plaintiffs’ interest to

remain anonymous due to their medical privacy, fears of punishment and retaliation,

and private religious beliefs. Plaintiffs request this Court follow the Eleventh

Circuit’s lead and find that the protective order is a “reasonable way to reconcile the

competing interests” and allow Plaintiffs to proceed anonymously.

                                  CONCLUSION

      In conclusion, and for these reasons, Plaintiffs respectfully request this Court

grant Plaintiffs’ request to proceed anonymously and to waive the requirement of

Fed. R. Civ. P. 10(a) to provide their names in pleadings.

                                        Respectfully submitted,

                                        /s/ Ibrahim Reyes
Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 9 of 10




                             Ibrahim Reyes, Esq.
                             Florida Bar No. 581798
                             REYES LAWYERS, P.A.
                             236 Valencia Avenue
                             Coral Gables, FL 33134
                             Tel. 305-445-0011
                             Fax. 305-445-1181
                             Email: ireyes@reyeslawyers.com
                             /s/ Brandon Johnson
                             Brandon Johnson, Esq.
                             DC Bar No. 491370
                             /s/ Travis Miller
                             Travis Miller, Esq.
                             TX Bar No. 24072952
                             Defending the Republic
                             2911 Turtle Creek Blvd., Suite 300
                             Dallas, TX 75219
                             Tel. 214-707-1775
                             Email: bcj@defendingtherepublic.org
                             Email: traviswmiller@gmail.com
                             Attorneys For Plaintiffs
    Case 3:21-cv-01211-AW-HTC Document 43 Filed 10/29/21 Page 10 of 10




                        CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing motion through the

Court’s CM/ECF system on October 29, 2021, which will serve all counsel of record.


                                      /s/ Brandon Johnson
